

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0630-07





YOLLAND DOMETRIC LATIMER, Appellant


                  




v.



THE STATE OF TEXAS





ON STATE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE EIGHTH COURT OF APPEALS


DALLAS COUNTY





		Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i)
because it does not contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: September 26, 2007

Do Not Publish



